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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA
DICARLO DICKERSON
1111 51st Place NE
Washington, D.C. 20019,

             Plaintiff,
v.                                              Case No.: 1:23-CV-02119

AMERICAN COLLECTIONS ENTERPRISE INC.
C/O COGENCY. GLOBAL INC
1025 CONNECTICUT AVE NW # 712
WASHINGTON, D.C. 20036

AT&T MOBILITY LLC
C/O THE CORP. TRUST INC.
2405 YORK RD # 201
LUTHERVILLE TIMONIUM, MD 21093

AT&T SERVICES, INC.
C/O THE CORP. TRUST INC.
2405 YORK RD # 201
LUTHERVILLE TIMONIUM, MD 21093

COMMONWEALTH FINANCIAL SYSTEMS, INC.
CORPORATION SERVICE COMPANY
1090 VERMONT AVE NW #43
WASHINGTON, D.C. 20005

EQUIFAX INFORMATION SERVICES LLC
C/O CORPORATION SERVICE COMPANY
1090 VERMONT AVE NW # 430
WASHINGTON, D.C. 20005

EXPERIAN INFORMATION SOLUTIONS INC.
C/O C T CORPORATION SYSTEM
1015 15TH ST NW # 1000
WASHINGTON, D.C. 20005

TRANS UNION LLC
c/o Corporation Service Company
1090 Vermont Ave NW # 430
Washington, D.C. 20005

             Defendants.


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    DEFENDANT AT&T SERVICES, INC. AND AT&T MOBILITY LLC.’S
  ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFF’S COMPLAINT

       Defendants, AT&T Services, Inc. (AT&T) and AT&T Mobility, LLC (AT&TM)

(“collectively “AT&T”), through counsel and pursuant to the Federal Rules of Civil

Procedure, submit this Answer and Affirmative Defenses to the Complaint filed by

plaintiff, DiCarlo Dickerson (“Plaintiff”), and states:

                              PRELIMINARY STATEMENT

       1.       AT&T admits that plaintiff purports to bring an action for damages under the

Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”) and the Fair

Credit Reporting Act, 15 U.S.C. § 1681, et seq. (“FCRA”), but denies any and all damages,

liability, and/or violations, to the extent alleged in ¶ 1.

                               PARTIES TO THIS ACTION

       2.       AT&T admits the allegations in ¶ 2 upon information and belief.

       3.       The allegations in ¶ 3 are not directed towards AT&T and do not require a

response.

       4.       AT&T admits only that it is a telecommunications company and wireless

communications provider.

       5.       The allegations in ¶ 5 are not directed towards AT&T and do not require a

response.

       6.       The allegations in ¶ 6 are not directed towards AT&T and do not require a

response.




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                               FACTUAL ALLEGATIONS

       7.       AT&T denies the allegations in ¶ 7 for lack of knowledge or information

sufficient to form a belief therein.

       8.       AT&T denies the allegations in ¶ 8 for lack of knowledge or information

sufficient to form a belief therein.

       9.       AT&T denies the allegations in ¶ 9 for lack of knowledge or information

sufficient to form a belief therein.

       10.      AT&T denies the allegations in ¶ 10 for lack of knowledge or information

sufficient to form a belief therein.

       11.      AT&T denies the allegations in ¶ 11 for lack of knowledge or information

sufficient to form a belief therein and states further that the referenced credit report speaks

for itself and is the best evidence of its contents. To the extent plaintiff’s credit report

evidences an inquiry from AT&T, AT&T had a permissible purpose.

       12.      AT&T denies the allegations in ¶ 12 for lack of knowledge or information

sufficient to form a belief therein and leaves plaintiff to his proofs.

                                  ACE Collection Account

       13.      The allegations in ¶ 13 are not directed towards AT&T and do not require a

response.

       14.      The allegations in ¶ 14 are not directed towards AT&T and do not require a

response.



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      15.   The allegations in ¶ 15 are not directed towards AT&T and do not require a

response.

      16.   The allegations in ¶ 16 are not directed towards AT&T and do not require a

response.

      17.   The allegations in ¶ 17 are not directed towards AT&T and do not require a

response.

      18.   The allegations in ¶ 18 are not directed towards AT&T and do not require a

response.

      19.   The allegations in ¶ 19 are not directed towards AT&T and do not require a

response.

      20.   The allegations in ¶ 20 are not directed towards AT&T and do not require a

response.

      21.   The allegations in ¶ 21 are not directed towards AT&T and do not require a

response.

      22.   The allegations in ¶ 22 are not directed towards AT&T and do not require a

response.

      23.   The allegations in ¶ 23 are not directed towards AT&T and do not require a

response.

      24.   The allegations in ¶ 24 are not directed towards AT&T and do not require a

response.

                       Illegal Inquiry from AT&T and CFS

      25.   AT&T denies the allegations in ¶ 25.

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       26.        AT&T denies the allegations in ¶ 26 as written.

       27.        AT&T denies the allegations in ¶ 27 as written.

       28.        The allegations in ¶ 28 do not pertain to AT&T and thus an answer is not

required of it.

       29.        AT&T denies the allegations in ¶ 29 as written and to the extent it calls for a

legal conclusion.

       30.        AT&T denies the allegations in ¶ 30 as written and further denies the conduct

attributed to it.

       31.        The allegations in ¶ 31 are not directed towards AT&T and do not require a

response.

       32.        The allegations in ¶ 32 are not directed towards AT&T and do not require a

response.

       33.        AT&T denies the allegations in ¶ 33 for lack of knowledge or information

sufficient to form a belief therein.

                          COUNT ONE: VIOLATIONS OF FDCPA

       34.        AT&T reasserts the foregoing as if fully set forth herein.

       35.        The allegations in ¶ 35 are not directed towards AT&T and do not require a

response.

       36.        The allegations in ¶ 36 are not directed towards AT&T and do not require a

response.

       37.        The allegations in ¶ 37 are not directed towards AT&T and do not require a

response.

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       38.    The allegations in ¶ 38 are not directed towards AT&T and do not require a

response.

       39.    The allegations in ¶ 39 are not directed towards AT&T and do not require a

response.



                       COUNT TWO: VIOLATION(S) OF FCRA

       40.    AT&T reasserts the foregoing as if fully set forth herein.

       41.    The allegations in ¶ 41 are not directed towards AT&T and do not require a

response.

       42.    AT&T denies the allegations in ¶ 42 for lack of knowledge or information

sufficient to form a belief therein.

       43.    The allegations in ¶ 43 are not directed towards AT&T and do not require a

response.

       44.    AT&T denies the allegations in ¶ 44.

       45.    AT&T denies the allegations in ¶ 45.

       46.    AT&T denies the conduct attributed to it and thus denies the allegations in ¶

46.

       47.    AT&T denies the conduct attributed to it and thus denies the allegations in ¶

47.

       48.    AT&T denies the allegations in ¶ 48.

                                       PRAYER FOR RELIEF

              AT&T denies that plaintiff is entitled to the relief sought.

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                             AFFIRMATIVE DEFENSES

                          FIRST AFFIRMATIVE DEFENSE

       One or more of the counts/grounds in plaintiff’s Complaint fails to state a claim

against AT&T upon which relief can be granted.

                        SECOND AFFIRMATIVE DEFENSE

       Any harm suffered by plaintiff was legally and proximately caused by persons,

individuals, corporations, or entities beyond the control or supervision of AT&T, or for

whom AT&T is not responsible or liable.

                         THIRD AFFIRMATIVE DEFENSE

       Assuming that plaintiff suffered any damages, plaintiff has failed to mitigate his

damages or take other reasonable steps to avoid or reduce his damages.

                        FOURTH AFFIRMATIVE DEFENSE

       To the extent AT&T committed any violation, which it denies, such violation was

not willful and was only negligent.

                           FIFTH AFIRMATIVE DEFENSE

       To the extent AT&T obtained plaintiff’s credit report, AT&T had a permissible

purpose for doing so.

       WHEREFORE, AT&T services, Inc. requests the Court dismiss this action with

prejudice and grant it any other relief the Court deems appropriate.

Dated: September 13, 2023                 Respectfully submitted,


                                          /s/ Aaron R. Easley
                                          Aaron R. Easley, Esq. (450292)

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                                          Sessions, Israel & Shartle, LLC
                                          3 Cross Creek Drive
                                          Flemington, NJ 08822-4938
                                          Telephone No.: (908) 237-1660
                                          Facsimile No.: (877) 334-0661
                                          Attorney for Defendant,
                                          AT&T Services, Inc.



                             CERTIFICATE OF SERVICE

       I hereby certify that on September 13, 2023, a copy of the foregoing was filed

electronically in the ECF system. Notice of this filing will be sent to the parties of record

by operation of the Court’s electronic filing system.


                                          By:     /s/ Aaron R. Easley
                                                  Aaron R. Easley, Esq.




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